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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



In re Hearst Communications State Right of
Publicity Statute Cases
                                                  No. 1:21-cv-08895-RA-GWG




           DEFENDANT HEARST COMMUNICATIONS, INC.’S
      MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS



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       Defendant Hearst Communications, Inc. (“Hearst” or “Defendant”), through its
undersigned counsel, hereby moves to dismiss the Consolidated Amended Class Action
Complaint [ECF No. 29] (“Compl.”), with prejudice, pursuant to Federal Rule of Civil
Procedure 12(b)(6).

                                         INTRODUCTION

       This case has nothing to do with the right of publicity. The Complaint is devoid of

allegations that any name was used for a commercial purpose as defined under right of publicity

laws, such as advertising, marketing, promotion, or merchandising. There is no allegation that

any name was used to motivate a transaction, the way a tennis star’s name is used to sell sporting

goods. Plaintiffs do not (and cannot) even specifically allege Hearst communicated their

individual names to anyone. Yet Plaintiffs seek untold millions from Hearst for violating their

“right[s] of publicity” under the laws of eight states and Puerto Rico, by allegedly providing a

list of magazine subscribers to contractual counterparties.

       Plaintiffs contort the right of publicity beyond recognition. Even if Hearst did what

Plaintiffs allege, not just any mention of a name implicates the right of publicity. A narrow right

of relatively recent vintage, the right of publicity is defined in each of the nine jurisdictions as a

property right in limited commercial uses of one’s unique name or likeness, not unlike

intellectual property. The right of publicity archetypally involves advertising, promotion,

marketing, or similar commercial activities that make use of the identity’s unique value to

influence a transaction, thereby appropriating the value to the user. The laws at issue require

consent for such a covered commercial use of identity. The laws do not in any way govern the

possible communication of a list of names to a contractual partner.
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       Every court to examine a claim like Plaintiffs’ has rejected it. Just this month, Judge

Mihm of the U.S. District Court for the Central District of Illinois summarily dismissed an

Illinois right of publicity claim brought by counsel for Plaintiffs on behalf of another purported

magazine subscriber, making the same central allegations against Hearst regarding the

communication of subscriber names. See Huston v. Hearst Commc’ns, Inc., No. 21-cv-1196,

2022 WL 385176, at *3 (C.D. Ill. Feb. 7, 2022). Judge Mihm held the allegations failed to state

a claim that the subscriber’s identity was used for a “commercial purpose,” namely advertising

or promotion of another product, as required under the Illinois law. Id. Every right of publicity

statute at issue here has a homologous requirement, mandating the same result.

       Huston and other authorities uniformly establish that an individual has no right of

publicity in one’s name as part of a mailing list. There is no right of publicity in a name, in and

of itself, absent its use for a covered commercial purpose under the laws—e.g., to publicize or

promote something. Plaintiffs allege no such use here.

       The implications of Plaintiffs’ claims are far-reaching. Plaintiffs urge this Court to

accept a premise that no court has ever accepted before—that within the familiar contours of the

right of publicity there is couched the ability to effectively ban the distribution of telephone

directories, directories listing professionals, and other publications that have historically received

robust Constitutional protection, absent the express consent of those whose names are included.

Plaintiffs’ position is plainly untenable, and there is no limiting principle that can be deduced

from the Complaint.

       Plaintiffs’ interpretation not only lacks textual basis and defies reason, it also starkly

illustrates why the First Amendment has always been an essential bulwark against potential

abuses of the right of publicity. The Complaint attempts to graft an expansive and poorly




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defined restraint on speech onto laws that were never intended to achieve that result and are

therefore wildly ill-suited to the task. Even if Plaintiffs could rewrite the right of publicity as

they wish, the claim would be an overreach and would fail, as the First Amendment would not

countenance such a blunderbuss restriction on speech.

         For the reasons herein, Hearst respectfully requests that the Court dismiss Plaintiffs’

claims, in their entirety, with prejudice.

                                     PLAINTIFFS’ ALLEGATIONS

         Plaintiffs’ allegations are sparse and most notable for their omission of any facts

supporting a right of publicity claim. The Complaint does not allege that Plaintiffs’ names or

identities were ever used in any way to advertise, promote, or market any product or service.

Rather, Plaintiffs allege that Hearst is a magazine publisher that rents or sells certain data (so-

called “Data Brokerage Products”), allegedly comprised of “the identities of its subscription

customers,” to third parties with whom Hearst has standing commercial relationships (so-called

“Data Brokerage Clients”). Compl. ¶¶ 2–3, 62.1 Plaintiffs do not say how many Data Brokerage

Clients receive Hearst’s subscriber names. According to Plaintiffs, all of whom are alleged

subscribers, Hearst’s practices violate the right of publicity laws where they reside—Alabama,

California, Hawaii, Indiana, Nevada, Ohio, Puerto Rico, South Dakota, and Washington. See id.

¶¶ 6, 34–53.2



1
          Among other material inaccuracies in the Complaint, Plaintiffs’ allegation that Hearst Communications,
Inc. publishes the magazines they purchased is incorrect. Compl. ¶ 1. Moreover, should this case continue, issues
of notice, consent, and applicable statutes of limitations, would likely preclude class certification. Nonetheless,
Plaintiffs’ allegations are assumed to be true for purposes of this Motion.
2
          Ala. Code § 6-5-770, et seq. (“Alabama Statute”); Cal. Civ. Code § 3344 (“California Statute”); Haw. Rev.
Stat. § 482P-1, et seq. (“Hawaii Statute”); Ind. Code § 32-36-1-1, et seq. (“Indiana Statute”); Nev. Rev. Stat.
§ 597.770, et seq. (“Nevada Statute”); Ohio Rev. Code Ann. § 2741.01, et seq. (“Ohio Statute”); P.R. Laws Ann. tit.
32, § 3151, et seq. (“Puerto Rico Statute”); S.D. Codified Laws § 21-64-1, et seq. (“South Dakota Statute”); Wash.
Rev. Code § 63.60.010, et seq. (“Washington Statute”).



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        While Plaintiffs say they never consented to their names being sold or rented to Data

Brokerage Clients, they also do not allege their names ever were sold or rented. According to

Plaintiffs, Hearst’s “customers remain unaware that their identities” are being disclosed. Id.

¶ 67. Plaintiffs say they do not know how many subscribers are referenced in Hearst’s data, but

surmise there may be “hundreds of thousands” in each of the states represented. Id. ¶ 80.

Plaintiffs (despite bringing right of publicity claims) do not allege that any recipient of subscriber

data has known, at any time, what names the data contained. Logically, Plaintiffs therefore do

not allege that any recipient ascribed a value to any unique name they purportedly received,

including that of any Plaintiff—let alone that anyone was induced to purchase a Data Brokerage

Product because of any Plaintiff’s name. All the statutes at issue award significant statutory

damages under certain conditions.3

                                          LEGAL STANDARD

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007)). A plaintiff must

“plead[] factual content that allows the court to draw the reasonable inference that the defendant

is liable for the misconduct alleged.” Id. “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id. Furthermore, “[a]n

affirmative defense may be raised by a pre-answer motion to dismiss under Rule 12(b)(6) . . . if

the defense appears on the face of the complaint.” Iowa Pub. Emps.’ Ret. Sys. v. MF Glob., Ltd.,

620 F.3d 137, 145 (2d Cir. 2010) (citation omitted).


3
         Ala. Code § 6-5-774; Cal. Civ. Code § 3344(a); Haw. Rev. Stat. § 482P-6; Ind. Code § 32-36-1-10; Nev.
Rev. Stat. § 597.810; Ohio Rev. Code Ann. § 2741.07; P.R. Laws Ann. tit. 32, § 3156; S.D. Codified Laws § 21-64-
5; Wash. Rev. Code § 63.60.060.



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                                                 ARGUMENT

    I.    Hearst Did Not Make an Infringing Commercial Use of Any Plaintiff’s Name.

          Throughout the evolution of the right of publicity, including its codification by states, one

principle has remained constant—not every allusion to one’s name is, in and of itself,

protectable. The question is: what specific use has been made of one’s identity, and is that

particular use governed by the right of publicity? Because Plaintiffs fail to allege an infringing

use of their identities under any of the laws they cite, they fail to state a claim for relief.

          A.      By Their Terms, the Right of Publicity Laws Apply Only to a Narrow Set of
                  Infringing “Uses” of Identity, None of Which Are Alleged Here.
          The right of publicity statutes at issue were not drafted in a vacuum but resulted from the

recent development in American jurisprudence of a recognized protection for an identity’s

unique value in limited commercial contexts. While the genesis of the right lies in an “invasion

of privacy by appropriation” tort, itself of relatively recent origin,4 the right of publicity appeared

largely in response to the limitations of a “privacy” right in “protecting the property interests of

celebrities and people already in the public eye.” Hart v. Elec. Arts, Inc., 717 F.3d 141, 150 (3d

Cir. 2013). At its inception, the right of publicity was primarily to protect famous likenesses—

those with a meaningful commercial value to protect—from unauthorized use in advertisements,

endorsements, promotion, merchandising, and the like. The phrase “right of publicity” first

appeared in a case involving the use of “photographs of leading baseball-players” to sell gum.

Haelan Lab’ys, Inc. v. Topps Chewing Gum, Inc., 202 F.2d 866, 867–68 (2d Cir. 1953); see also




4
         See J. Thomas McCarthy & Roger E. Schechter, Rights of Publicity and Privacy § 1:23 (2d ed. 2012)
(hereinafter “McCarthy”). This appropriation tort was one of four causes of action “distilled” by Dean William
Prosser from the “amorphous legal protection of privacy,” as originally set forth in the seminal article by future
Justice Brandeis and Samuel Warren. Howard v. Antilla, 294 F.3d 244, 247–48 (1st Cir. 2002) (citing Samuel D.
Warren & Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 193 (1890)).



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Restatement (Third) of Unfair Competition § 46 cmt. d (1995) (“The right is most often invoked

to protect the value associated with the identity of a celebrity.”).

         In a typical right of publicity case, a famous likeness is reproduced to “capitalize on

[its] . . . fan-base,” to influence the purchase of a product. Hart, 717 F.3d at 162 (citing No

Doubt v. Activision Publ’g, Inc., 192 Cal. App. 4th 1018, 1035 (2011)). It is the identity’s

unique utility in influencing commercial behavior that may have value, as property. See Esch v.

Universal Pictures Co., No. 09-CV-02258, 2010 WL 5600989, at *2 (N.D. Ala. Nov. 2, 2010)

(“The plaintiff must demonstrate that there is a ‘unique quality or value in his likeness’ that, if

appropriated” would benefit defendant) (quoting Allison v. Vintage Sports Plaques, 136 F.3d

1443, 1447 (11th Cir. 1998)); McCarthy § 5:19 (right of publicity is infringed by “[u]sing a

person’s identity . . . to draw attention to a product or advertisement”) (emphasis added);

Current Audio, Inc. v. RCA Corp., 71 Misc. 2d 831, 835–36 (Sup. Ct. N.Y. Cnty. 1972) (right of

publicity “is at best a limited [right] and has been accorded vitality only where there is an

unauthorized use of the name or picture for advertising purposes”).

         While the modern right of publicity is not confined to public figures, true to its origins it

remains “in the nature of a property right” in the exploitation of one’s unique individual identity

in narrow commercial contexts.5 Restatement (Third) of Unfair Competition § 46 cmt. g (1995);



5
            Fittingly, courts have regularly looked to intellectual property to help define the contours of publicity rights
in the jurisdictions at issue here. See, e.g., Allison, 136 F.3d at 1448 (explaining policy rationale for applying the
first-sale doctrine on the transferability of “the three principal forms of intellectual property rights”—copyright,
patent, and trademark—to the right of publicity in Alabama); Ala. Code § 6-5-773(f) cmt. (subsection (f) of the
Alabama Statute “is an articulation of the first sale doctrine as recognized in Allison”); ETW Corp. v. Jireh Publ’g,
Inc., 332 F.3d 915, 938 (6th Cir. 2003) (applying copyright’s transformative use test to balance the Ohio common
law right of publicity against the freedom of expression); Harvey v. Sys. Effect, LLC, 154 N.E.3d 293, 308 (Ohio Ct.
App. 2020) (holding ETW was consistent with the Ohio Statute and the Restatement); Comedy III Prods., Inc. v.
Gary Saderup, Inc., 25 Cal. 4th 387, 404 (Cal. 2001) (same, applying California Statute). Notably, exceptions to the
right of publicity in the statutes at issue are framed in terms of permissible “uses” of property—Alabama calls such
permissible uses of identity “fair use[s],” a concept borrowed from copyright. Ala. Code § 6-5-773(b) (“It is a fair
use . . . if the use of the indicia of identity . . . is part of an . . . expressive work”); 17 U.S.C. § 107.



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see also Hart, 717 F.3d at 151 (“[T]he goal of maintaining a right of publicity is to protect the

property interest that an individual gains and enjoys in his identity through his labor and

effort. . . . [A]s with protections for intellectual property, the right of publicity is designed to

encourage further development of this property interest.”).

         The nine statutes here follow the rule, defining the right of publicity as a property right

over circumscribed commercial uses of one’s unique identity, through advertising, marketing,

promotion, endorsement, or equivalent commercial activity. See, e.g., Enter. Mgmt. Ltd., Inc. v.

Construx Software Builders, Inc., No. 19-CV-1458, 2020 WL 2795198, at *9 (W.D. Wash. May

29, 2020) (“[T]he statutory language is clear: The [Washington Statute] does not apply to

circumstances where the use did not inaccurately claim or state an endorsement by the individual

or personality.”); Aligo v. Time-Life Books, Inc., No. C 94–20707, 1994 WL 715605, at *2 (N.D.

Cal. Dec. 19, 1994) (under California Statute plaintiff must show “defendant knowingly used the

plaintiff’s name, photograph or likeness for purposes of advertising or solicitation and . . . a

direct connection between the use and the commercial purpose”).6 In relevant part, the statutes

provide:

        Alabama Code § 6-5-772: “any person . . . who uses or causes the use of the indicia of
         identity of a person, on or in products, goods, merchandise, or services entered into
         commerce in this state, or for purposes of advertising or selling, or soliciting purchases
         of, products, goods, merchandise, or services . . . without consent shall be liable . . . .”
        California Civ. Code § 3344: “Any person who knowingly uses” indicia of identity “on
         or in products, merchandise, or goods, or for purposes of advertising or selling, or
         soliciting purchases of, products, merchandise, goods or services” without consent “shall
         be liable . . . .”


6
          Furthermore, the Alabama, Hawaii, Indiana, Nevada, and Washington Statutes apply by their terms only to
the “use” of identity within the respective state. Ala. Code § 6-5-772(a) (products “entered into commerce in this
state”); Wash. Rev. Code § 63.60.050 (same); Haw. Rev. Stat. § 482P-5 (same); Ind. Code § 32-36-1-1(a) (law
“applies to an act or event that occurs within Indiana”); Nev. Rev. Stat. § 597.780 (law “appl[ies] to any commercial
use within this state”). Plaintiffs allege no facts suggesting any infringing “use” occurred in these states—they
allege only harm to the respective representative Plaintiffs by virtue of domicile. Compl. ¶¶ 92, 98, 109, 144, 166.
For this additional reason Counts I, II, III, VI, and VIII fail to state a claim and should be dismissed.



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    Hawaii Rev. Stat. § 482P-5: “any person who uses or authorizes the use of” indicia of
     identity “on or in goods, merchandise, or services entered into commerce in this State, or
     for purposes of advertising products, merchandise, goods, or services” without consent
     “has infringed a publicity right . . . .”
    Indiana Code §§ 32-36-1-2 & 32-36-1-8: “A person may not use an aspect of a
     personality’s right of publicity for a commercial purpose . . . without having obtained
     previous written consent”; “‘[C]ommercial purpose’ means the use of an aspect of a
     personality’s right of publicity as follows: (1) On or in connection with a product,
     merchandise, goods, services, or commercial activities. (2) For advertising or soliciting
     purchases of products, merchandise, goods, services, or for promoting commercial
     activities. (3) For the purpose of fundraising.”
    Nevada Rev. Stat. §§ 597.780 & 597.810: “Any commercial use of” identity without
     consent is subject to liability; the law “appl[ies] to any commercial use within this state
     of a living or deceased person’s name, voice, signature, photograph or likeness . . . .”
    Ohio Rev. Code Ann. §§ 2741.01 & 2741.02: “a person shall not use any aspect of an
     individual’s persona for a commercial purpose”; “‘Commercial purpose’ means
     the use of or reference to” identity “(1) On or in connection with a place, product,
     merchandise, goods, services, or other commercial activities . . . ; (2) For advertising or
     soliciting [a] purchase . . . ; (3) For the purpose of promoting travel to a place; (4) For
     the purpose of fundraising.”
    Puerto Rico St., P.R. Laws Ann. tit. 32, §§ 3151 & 3152: “Any . . . person who uses
     another’s likeness for commercial, trade, or advertising purposes without [] previous
     consent . . . shall be liable”; “Commercial purpose. - The use of a person’s likeness in
     connection with an advertisement, offer, or sale of a product, merchandise, good or
     service in the market.”
    South Dakota Codified Laws §§ 21-64-1 & 21-64-2: “No person may use any aspect of
     a personality’s right of publicity for a commercial purpose . . . without [] express written
     consent”; “‘Commercial purpose,’ the use of an aspect of a personality’s right of
     publicity in connection with a product, merchandise, goods, service, or commercial
     activity; for advertising or soliciting purchases of a product, merchandise, goods, service,
     or for promoting a commercial activity; or for the purpose of fund-raising.”
    Washington Rev. Code §§ 63.60.010 & 63.60.050: “Any person who uses or authorizes
     the use of” indicia of identity “on or in goods, merchandise, or products entered into
     commerce in this state, or for purposes of advertising products, merchandise, goods, or
     services” without consent “has infringed such right”; “The right exists whether or not it
     was commercially exploited by the individual or the personality” during their lifetime.




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         The nine statutes all deem this right of publicity, or the right to protect the use of one’s

identity in commercial contexts such as advertising or marketing, to be a “property” right.7

Importantly, this is a limited property right, confined to specified commercial uses. Per the laws’

plain text, it is not a “property” right in one’s name as a means of identification. In the same way

not every reference to a work implicates the intellectual property holder’s rights, the right of

publicity does not permit a right of refusal over every reference to one’s name. Rather, the text

of the laws reproduced above shows it is a narrow property right only in the “use” of a name for

a covered commercial purpose, particularly advertising, marketing, merchandising, endorsement,

or promotion. As a result, under the nine statutes at issue, Plaintiffs must allege not just any

mention of their names, but an infringing use. As every court has found to date, Plaintiffs’

claims fail this test.

         B.       Hearst’s Purported Communication of Data, Without More, Is Not an
                  Infringing Use of any Identity.
         The Complaint is devoid of any factual allegations that would bring it within the right of

publicity. Those courts that have examined claims similar to Plaintiffs’ have consistently

rejected them because the (possible) communication of people’s names as part of a data set or

mailing list, in and of itself, makes no “use” of the commercial value of an individual’s identity

for the circumscribed purpose of the right of publicity laws. Hearst is aware of no authority to




7
          Ala. Code § 6-5-771(3) (defining right of publicity as “property” right); Cal. Civ. Code § 3344.1(b) (same);
Haw. Rev. Stat. § 482P-2 (same); Ind. Code § 32-36-1-16 (same); Ohio Rev. Code Ann. §§ 2741.01(D) & 2741.04
(same); P.R. Laws Ann. tit. 32, § 3154 (same); S.D. Codified Laws §§ 21-64-1 & 21-64-4 (same); Wash. Rev. Code
§ 63.60.010 (same). Nevada does not use the term “property” to define the right of publicity but, like the other eight
states, describes it as “freely transferable,” assignable and descendible as property (including intellectual property)
would be. Nev. Rev. Stat. § 597.800(1); see 17 U.S.C. § 201(d)(1) (copyright ownership rights are transferable and
descendible); S. 714, 31st Leg., Reg. Sess. (Haw. 2021) (according to committee report, Hawaii Statute was
intended to “allow[] the people of Hawaii to protect their legacy and rights that are not covered by federal copyright
law or state and federal trademark laws”).



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the contrary, under any state’s law. Simply put, the existing authority across jurisdictions has

repudiated Plaintiffs’ claims, typically at the pleading stage.

       The Central District of Illinois recently dismissed a virtually identical claim by another

alleged magazine subscriber employing counsel who also represent Plaintiffs. Huston, 2022 WL

385176, at *3. The plaintiff in Huston alleged Hearst used plaintiff’s identity for a “commercial

purpose” (defined in the Illinois Right of Publicity Act as, inter alia, “on or in connection with

the offering for sale or sale of a product, merchandise, [or] goods”) when Hearst “sold” “Mailing

List[s]” of magazine subscribers, thereby violating the law to the tune of $1,000 per class

member. Id. at *1–2. The court held the plaintiff failed to state a claim that her identity was

used for a “commercial purpose” under the IRPA, which governs “the use of an individual’s

identity to promote or entice the purchase of some other product.” Id. at *2 (citing Dobrowolski

v. Intelius, Inc., No. 17 CV 1406, 2018 WL 11185289, at *3 (N.D. Ill. May 21, 2018) (“The

plaintiffs’ identities are not used to promote a separate product—they are used because plaintiffs’

identities are part of the product offered for sale.”)) (emphasis added). The court found the

plaintiff failed to identify “any case law to support [her] interpretation of the IRPA,” that

Hearst’s alleged subscriber data could be an infringing “product,” “merchandise,” or “good.” Id.

at *3. The reasoning of Huston applies to the nine statutes at issue here, which all employ

similar language to the same ends. Huston is, moreover, in accord with other courts that have

examined similar claims.

       In U.S. News & World Report, Inc. v. Avrahami, No. 95-1318, 1996 WL 1065557 (Va.

Cir. Ct. June 13, 1996), cited by the Huston decision, the court held that a magazine subscriber

whose name and address were “rented” as part of a larger subscriber mailing list for direct

marketing purposes “has no property right in [his] name” for purposes of such a list and could




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not claim a violation of Virginia’s right of publicity statute. Id. at *1, 6 (emphasis added).

Addressing the common and long-standing industry practice of subscriber mailing lists, the court

held the “exchange of the defendant’s name as part of a mailing list does not invade any property

right he may have in his name” or violate his right of publicity. Id. at *6. As the court stated,

“[t]he inclusion of a name as part of a larger mailing list for purposes of a direct mail solicitation

does not constitute use of that name in the promotion of an actual product or service itself.” Id.

at *7 (emphasis added); see also id. (“The inclusion of an individual name as part of a mailing

list constitutes neither a use for an advertising purpose nor a use for the purpose of trade, as

defined by the statute.”).

        In concluding the subscriber’s name lacked “any commercial value” within the meaning

of the right of publicity, id. at *6, the court observed that “[i]t is not possible to rent only one

name on a mailing list. . . . Typically, the [U.S. News] lists contain at least 100,000 names and

addresses. There is no value associated with or assigned to an individual name on a mailing list.

The value of a list comes not from the individual names contained on the list, but entirely from

the list’s association with a particular organization or group.” Id. at *2 (emphasis added).

Critically, “neither U.S. News nor the [recipient of the list] Smithsonian knew the specific names

of the individuals contained on the magnetic computer strip, U.S. News did not identify any

individual name that would be contained on the magnetic computer strip, and U.S. News did not

promote or advertise its list as containing any particular name.” Id. at *4 (emphasis added).

        This parallels Plaintiffs’ allegations. Data Brokerage Clients allegedly seek data from

Hearst because “Hearst maintains a vast digital database” of subscribers—i.e., because of the

data’s association with Hearst, not with any one of the Plaintiffs. Compl. ¶ 60. There is no

allegation that any recipient was ever aware of any one of the “hundreds of thousands” of names




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of subscribers in a given state, let alone that any recipient sought out data because it included any

of the Plaintiffs. Id. ¶ 80. There is no allegation Hearst “promote[d] or advertise[d] its list as

containing any particular name.” U.S. News, 1996 WL 1065557, at *4.8 No Plaintiff’s property

right in the commercial value of their identity has been infringed, or even used at all, in a manner

contemplated by the right of publicity laws at issue.

         By the same token, in Shibley v. Time, Inc., 341 N.E.2d 337 (Ohio Ct. App. 1975), the

court affirmed dismissal of a claim under then Ohio common law for “appropriation . . . of []

personality” against magazine publishers for “selling subscription lists to direct mail advertising

businesses . . . .” Id. at 338–39. Citing Prosser, the court observed the appropriation tort “refers

to those situations where the plaintiff’s name or likeness is displayed to the public to indicate that

the plaintiff indorses the defendant’s product or business,” and found this commercial purpose

was not achieved through the sale of subscriber lists. Id. at 339 (emphases added).9

         Citing Shibley, the court in Dwyer v. American Express Co., 652 N.E.2d 1351 (Ill. App.

Ct. 1995) affirmed dismissal of an Illinois common law appropriation claim arising out of

American Express’s “practice of renting information” about cardholders. Id. at 1352–53. The

court found no “appropriation . . . of one’s name or likeness for another’s use or benefit,”

reasoning:

         [A] single, random cardholder’s name has little or no intrinsic value to defendants
         (or a merchant). Rather, an individual name has value only when it is associated
         with one of defendants’ lists. . . . [D]efendants’ practices do not deprive any of the
         cardholders of any value their individual names may possess.

8
         Plaintiffs’ allegations are easily distinguishable from cases where a service shows a “free preview” of data
using an individual’s identity to encourage a user to pay for access to more data, which some courts have found to
make a promotional use of identity. See, e.g., Krause v. RocketReach, LLC, No. 21 CV 1938, --- F. Supp. 3d ----,
2021 WL 4282700, at *1, 3 (N.D. Ill. Sept. 21, 2021) (distinguishing between mere inclusion in informational
directory, which plaintiff did not challenge, versus alleged use of identity in free “preview” to “entice customers to
purchase [a] subscription service,” which did state a claim for violation of the Illinois Right of Publicity Act).
9
        See ETW, 332 F.3d at 930–31, 952 n.2 (Ohio common law largely followed the Restatement, as evolved
from Prosser, and is consistent with the Ohio Statute).



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Id. at 1355–56. As shown above, the same holds true here.

       Per Plaintiffs’ own allegations, it makes no difference whatsoever to the commercial

value of the data if a given subscriber is a celebrity or a recluse. The recipient of the data would

not know or care; it is receiving “hundreds of thousands” of names without allegedly being

aware of any of them. Compl. ¶ 80. It would turn the right of publicity on its head for a plaintiff

to claim that right over a “product” for which her identity, or even its fame or celebrity, is

irrelevant. Such a claim does not come close to alleging “publicity” of any kind. See McCarthy

§ 5:19 (right of publicity means using “identity . . . to draw attention to a product”).

       Even if “Data Brokerage Clients” knew which subscribers were contained within lists

they received, which is not alleged, this still would not be enough to state a right of publicity

claim absent allegations showing a use of identity for advertising, promotion, or equivalent

commercial purposes. In Brooks v. Thomson Reuters Corp., No. 21-CV-01418, 2021 WL

3621837 (N.D. Cal. Aug. 16, 2021), the court granted a motion to dismiss right of publicity

claims over dossiers of personal information, sold by Thomson Reuters to users looking for “all

the information Thomson Reuters has on an individual in the company’s database . . . .” Id. at

*1. The plaintiffs, representing those whose information was in the database, claimed violations

of California’s common law and statutory rights of publicity. Id. at *2. Even though in Brooks,

unlike here, the user sought information on a particular individual, the court held that the

individual’s right of publicity was still not infringed because their identity was not used “‘for

promotional purposes,’ i.e., to advertise or promote a separate product or service. Virtually all

right of publicity cases involve the use of a person’s name or likeness to advertise a separate

product or service.” Id. at *4. The Brooks court found no “appropriation” of identity for

purposes of the right of publicity where the plaintiffs’ information “[was] not sent to



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unsuspecting . . . users to advertise or promote . . . some other third party’s products or services;

they were sent only to . . . subscribers who deliberately paid Thomson Reuters to receive

information about them.” Id. at *5 (emphasis added).

        As did the court in Huston, the Brooks court rejected a fiction similar to the one that

Plaintiffs urge here—that a data set is a “product” separate from, and promoted by, the names

that are “in” the data set, for purposes of the right of publicity laws. As the Brooks court said

about Thomson Reuters’s dossiers of personal information, “Plaintiffs allege the product is their

name, likeness, and personal information. Plaintiffs do not cite a single right of publicity case

with analogous facts.” Id. at *4 (emphasis in original). Like the Brooks and Huston courts,

Hearst is unaware of any case finding a right of publicity in such facts.

        Likewise, in In re Facebook, Inc., Consumer Privacy User Profile Litigation, 402 F.

Supp. 3d 767 (N.D. Cal. 2019), the court dismissed a California common law right of publicity

claim predicated on Facebook’s sharing users’ personal information, holding the “allegations

about how Facebook shared the plaintiffs’ information with third parties is categorically different

from the type of conduct made unlawful by this tort, such as using a plaintiff’s face or name to

promote a product or service.” Id. at 803. The In re Facebook court quoted Comedy III, 25 Cal.

4th at 399, for the principle that the “right of publicity, like copyright, protects a form of

intellectual property that society deems to have some social utility,” and “[y]ears of labor may be

required before one’s skill, reputation, notoriety or virtues are sufficiently developed to permit an

economic return through some medium of commercial promotion.” Id.10




10
         Although In re Facebook applied California common law on the right of publicity, Comedy III was decided
under the California Statute, 25 Cal. 4th at 391, and the Brooks court found In re Facebook persuasive in deciding
claims under both California common law and the California Statute. See 2021 WL 3621837, at *5.



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       In keeping with the text of all nine statutes, see supra, Section I.A., the cases herein

underscore that names in a data set or mailing list are not property that is protected by the right

of publicity, absent a covered commercial use such as promotion, advertising, or merchandising.

See Restatement (Second) of Torts § 652C cmt. d (1977) (“The value of the plaintiff’s name is

not appropriated by mere mention of it . . . ; nor is the value of his likeness appropriated when it

is published for purposes other than taking advantage of his reputation, prestige, or other value

associated with him, for purposes of publicity.”) (emphasis added); see also Nieman v.

Versuslaw, Inc., No. 12-3104, 2012 WL 3201931, at *4 (C.D. Ill. Aug. 3, 2012), aff’d, 512 F.

App’x 635 (7th Cir. 2013) (dismissing Illinois right of publicity claim, holding name was not

“used for a ‘commercial purpose’” when it was merely mentioned in court records searchable

through defendant websites).

       This lack of an absolute ownership interest in one’s name finds an analogue in copyright

law. A “bedrock” precept of copyright is that mere biographical, identifying, or other facts about

oneself are not protectable as intellectual property. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,

499 U.S. 340, 347 (1991). In rejecting a copyright claim over white page directory listings

reporting the names and information of telephone subscribers, the Supreme Court held in Feist

that “[c]ensus data,” like “all facts . . . . may not be copyrighted and are part of the public

domain available to every person.” Id. at 347–48 (emphasis added) (quotation marks and

citations omitted). Accordingly, the names of subscribers in the white pages “are

uncopyrightable facts; they existed before [the phone company] reported them and would have

continued to exist if [the phone company] had never published a telephone directory.” Id. at 361.

       As the Court in Feist explained, “raw data” such as a name cannot be owned as property;

only facts that are worked upon and expressed with sufficient “originality” are potentially subject




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to copyright protection. Id. at 347. Similarly, a name is not subject to protection under the right

of publicity unless used for a covered commercial purpose such as promotion or marketing. See

Restatement (Second) of Torts § 652C cmt. d (1977). Until then, a name is just a name; it is not

property.

         These common limits on ownership take root in the fact that both copyright and the right

of publicity are subject to constitutional restraints on their scope, given the First Amendment’s

broad protection for free speech. Both rights must live within and accommodate those limits.11

Cf. Zacchini v. Scripps-Howard Broad. Co., 433 U.S. 562, 573 (1977) (“the State’s interest [in

the right of publicity] is closely analogous to the goals of patent and copyright law, focusing on

the right of the individual to reap the reward of his endeavors”). Even if Plaintiffs’ theory could

be reconciled with the limits embedded in the statutory text at issue here, it could not be squared

with the clear constitutional limits on ownership of names and other basic biographical

information, and the constitutional right to communicate such information.

         To Hearst’s knowledge, no court has recognized a right of publicity claim resembling

Plaintiffs’, under any law. This Court should not be the first.

         C.       At Most, Plaintiffs Allege an Incidental Use of Their Identities That Does Not
                  Infringe the Right of Publicity Laws.
         Even if one were to overlook the absence of any promotional use of Plaintiffs’ names,

their claims would fail because Plaintiffs cannot allege a unique commercial value to any of their

individual identities as allegedly used here, meaning that any alleged use by Hearst of their

identities would be deemed incidental at most and not the basis for a right of publicity claim.12


11
         Of course, copyright receives far greater protection than the right of publicity because it is independently
protected under the Constitution, while the right of publicity has no such grounding.
12
        “Incidental use is a defense for right of publicity and commercial misappropriation claims.” Schroeder v.
Volvo Grp. N. Am., LLC, No. LACV 20-05127, 2020 WL 6562242, at *12 (C.D. Cal. Sept. 3, 2020) (citing Davis v.



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As U.S. News held, “[t]he inclusion of a name as part of a larger mailing list—where no

relationship exists between the individual name and the exchange of the list—is ‘too fleeting and

incidental’ to be actionable” under Virginia’s right of publicity statute. 1996 WL 1065557, at *7

(citing Stillman v. Paramount Pictures Corp., 147 N.Y.S.2d 504 (Sup. Ct. N.Y. Cnty. 1956),

aff’d and modified on other grounds, 2 A.D.2d 18 (1956), aff’d, 5 N.Y.2d 994 (1959)). The

same is true here.

         As in a photo of a vast crowd—here, a crowd of at least hundreds of thousands of people

(Compl. ¶ 80)—no Plaintiff can allege any unique commercial value to her individual presence

among the multitudes. See Davis, 775 F.3d at 1180 (“The rationale underlying this doctrine is

that an incidental use has no commercial value.” (citation omitted)). Any use of Plaintiffs’

names was at most incidental, and they fail to state a claim. See Schifano v. Greene Cnty.

Greyhound Park, Inc., 624 So. 2d 178, 181 (Ala. 1993) (rejecting misappropriation claim at

Alabama common law where “[t]here [was] no unique quality or value in the [plaintiffs’]

likenesses that would result in commercial profit to the [defendant] simply from using a

photograph that included them—unidentified and seated in a group”) (citing Restatement

(Second) of Torts § 652C cmt. d (1977)); Harvey, 154 N.E.3d at 305–07 (rejecting claim under

Ohio Statute where plaintiff showed no evidence her name had “any commercial value” and use

was “incidental,” appearing on “three slides of a 200-page presentation”); Westminster

Presbyterian Church of Muncie v. Yonghong Cheng, 992 N.E.2d 859, 869–70 (Ind. Ct. App.




Elec. Arts Inc., 775 F.3d 1172, 1180 n.5 (9th Cir. 2015)). Factors considered by courts include: “(1) whether the use
has a unique quality or value that would result in commercial profit to the defendant, (2) whether the use contributes
something of significance, (3) the relationship between the reference to the plaintiff and the purpose and subject of
the work[,] and (4) the duration, prominence or repetition of the name or likeness relative to the rest of the
publication.” Davis, 775 F.3d at 1180 & n.5 (citation omitted) (applying the test even though California courts had
not expressly adopted it, observing that “the defense is widely recognized” across jurisdictions).



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2013) (finding use of name in press release “incidental” when it was “merely mentioned” to

identify parties, and use did not appropriate any commercial value).

         Plaintiffs have not alleged any act by Hearst infringing their rights. Nor can they cure

this pleading defect, given the nature of the allegations. The Court’s analysis may end here.

II.      If Plaintiffs’ Overbroad Reading of the Right of Publicity Laws Were Credited, the
         First Amendment and Equivalent State Protections Would Bar Any Application of
         Those Laws to Hearst’s Alleged Speech.

         As shown above, Plaintiffs’ failure to allege any infringing use of their identities is fatal

to their suit. The right of publicity laws do not apply to anything Hearst is alleged to have done.

There is thus no need to consider the constitutional implications of Plaintiffs’ claims. If,

however, Plaintiffs’ vastly overbroad reading of the statutes were to be credited, the

constitutional difficulties with their claims would immediately become clear. That is because

giving credence to Plaintiffs’ claim would require an expansion of the right of publicity laws that

would bring them into direct conflict with the First Amendment.

         The right of publicity laws cannot be stretched beyond their narrow commercial scope—

advertising, marketing, promotion and the like—to cover Hearst’s alleged communications,

consistent with constitutional protections for speech. “There is an inherent tension between the

right of publicity and the right of freedom of expression under the First Amendment,” ETW, 332

F.3d at 931. This dichotomy has been codified in the nine right of publicity statutes at issue.13



13
          Two states (Alabama and Ohio) expressly exempt conduct protected by the First Amendment and their
state constitutions. See Ala. Code § 6-5-773(a) (“Nothing in this article will allow for an abridgement of free speech
rights under the First Amendment of the United States Constitution and Section 4 of the Constitution of Alabama of
1901.”); Ohio Rev. Code Ann. § 2741.09(A)(6) (statute does not apply to “use of the persona of an individual that is
protected by the First Amendment to the United States Constitution”). The rest create exceptions to the right of
publicity that approximate some core constitutional protections of speech, though not in comprehensive fashion. For
example, with minor variations, all the laws at issue generally exempt the use of identity in news reporting or artistic
works. Ala. Code § 6-5-773; Cal. Civ. Code § 3344.1; Haw. Rev. Stat. § 482P-7; Ind. Code § 32-36-1-1; Nev. Rev.
Stat. § 597.790; Ohio Rev. Code Ann. § 2741.09; P.R. Laws Ann. tit. 32, § 3157; S.D. Codified Laws § 21-64-6;
Wash. Rev. Code § 63.60.070.



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         Hearst’s alleged conduct is fully protected speech. Because the right of publicity laws

are facially content-based regulations that could not meet strict scrutiny as applied to Hearst’s

speech, the Court should avoid any application of these laws to Hearst’s speech as alleged.14 See

Clark v. Martinez, 543 U.S. 371, 380–81 (2005) (under doctrine of constitutional avoidance,

statutory constructions that “would raise a multitude of constitutional problems” should be

avoided).

         A.       Hearst’s Alleged Communication Is Fully Protected Speech.
         Hearst’s purported communication—of accurate data in its possession to contractual

counterparties—is both a commonplace, lawful practice and fully protected by the First

Amendment. “The sale, rental, or exchange of mailing lists is a common, standard business

practice . . . throughout the United States.” U.S. News, 1996 WL 1065557, at *1 (“Numerous

government entities routinely engage in the sale or rental of mailing lists, including the federal

government and various departments and agencies of the Commonwealth of Virginia

government.”).

         Hearst’s alleged compilations of subscriber names, like directories, are fully protected

expression under the First Amendment. See, e.g., Dex Media W., Inc. v. City of Seattle, 696 F.3d

952, 965 (9th Cir. 2012) (holding yellow page directories “are entitled to full First Amendment

protection” as non-commercial speech; “[W]e do not see a principled reason to treat telephone

directories differently from newspapers, magazines, television programs, radio shows, and

similar media that does not turn on an evaluation of their contents.”); Vrdolyak v. Avvo, Inc., 206


14
          There is no need to “nullify more of a legislature’s work than is necessary.” Ayotte v. Planned Parenthood
of N. New England, 546 U.S. 320, 329 (2006). This axiom has special force where, as here, Plaintiffs interpret the
law in such a tortured manner to begin with. See Sarver v. Chartier, 813 F.3d 891, 905–06 (9th Cir. 2016)
(affirming grant of anti-SLAPP motion for failure to “state and substantiate a legally sufficient” right of publicity
claim arising out Hurt Locker movie, upon finding that applying the California Statute would violate the First
Amendment since “it is simply a content-based speech restriction,” and plaintiff could not show compelling state
interest) (citation omitted).



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F. Supp. 3d 1384, 1385–86, 1388 (N.D. Ill. 2016) (holding online attorney directory was non-

commercial speech “akin to the yellow pages directory” and fully protected by First

Amendment); Bergen v. Martindale-Hubbell, Inc., 285 S.E.2d 6, 6–7 (Ga. 1981) (First

Amendment and Georgia Constitution protect publication of attorney directory).

         The fact that Hearst’s speech is allegedly sold for profit does not make it commercial

speech or lessen its protection in any way. See Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 501

(1952) (“That books, newspapers, and magazines are published and sold for profit does not

prevent them from being a form of expression whose liberty is safeguarded by the First

Amendment.”); Hilton v. Hallmark Cards, 599 F.3d 894, 905 n.7 (9th Cir. 2010) (“Hallmark’s

card is not advertising the product; it is the product. It is sold for a profit, but that does not make

it commercial speech for First Amendment purposes.”) (emphasis in original); ETW, 332 F.3d at

924 (“Speech is protected even though it is carried in a form that is sold for profit.”); Exeltis USA

Inc. v. First Databank, Inc., 520 F. Supp. 3d 1225, 1230 (N.D. Cal. 2021) (“collection of . . .

consumer information” which is sold and relied upon for “commercial ends” is not commercial

speech).15

         Of course, as noted above, the Court need not ever reach the question of whether the right

of publicity laws may be constitutionally applied to Hearst’s conduct because the statutes’ clear

limits, and Plaintiffs’ allegations, make clear there is no actionable claim under those laws.

However, if the right of publicity laws were read in such a way as to apply as alleged, they

would be unconstitutional as applied, for the First Amendment would forbid burdening Hearst’s

fully protected speech through such an expansive application.


15
         While the court in Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427, 445, 447 (S.D.N.Y. 2016),
held similarly alleged data licensing practices to be commercial speech, Hearst respectfully disagrees with the
Boelter court’s decision, which is at odds with the prevailing weight of authority cited herein and was never subject
to appellate review.



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       B.      The Right of Publicity Laws Are Content-Based and Speaker-Based
               Restrictions on Speech, on Their Face.
       There can be no dispute that the right of publicity laws at issue impose content-based

restrictions on speech. They do so by design. “Content-based laws . . . target speech based on its

communicative content.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015)

(“Government regulation of speech is content based if a law applies to particular speech because

of the topic discussed or the idea or message expressed.”).

       The right of publicity laws restrict the use of identity in certain content, while excepting

other content. All nine statutes prohibit the unauthorized “use” of identity in restricted

commercial content such as “advertising” or “merchandise.” Supra, Section I.A. All nine

statutes allow the use of identity in favored content, such as reporting or works of art. See supra

at 18 n.13. See Sorrell v. IMS Health Inc., 564 U.S. 552, 558–60 (2011) (finding law to be

content-based in preventing certain entities from selling “records containing prescriber-

identifiable information” without consent “for marketing purposes,” but allowing use for other

purposes, including “health care research,” “compliance” with formularies, and others).

       Beyond these common policy preferences, individual variations among exceptions

underscore the content-based (and speaker-based) nature of the restrictions. Each of the nine

statutes has its own peculiarly favored speech. For example:

           Nevada uniquely exempts uses of identity “in connection with the efforts of a
            governmental agency to promote travel and tourism in [Nevada], [or] portray
            historical events or commemorate persons or physical sites that are significant in the
            history of [Nevada] . . . .” Nev. Rev. Stat. § 597.790(2)(g).
           Ohio exempts the use of identity “by an institution of higher education”—defined as
            one of an enumerated list of schools within Ohio—“for the promotion of the
            institution of higher education and its educational or institutional objectives.” Ohio
            Rev. Code Ann. § 2741.09(A)(5); id. § 2741.01(G); id. § 3345.011.
           Alabama exempts the use of identity for “talk shows.” Ala. Code § 6-5-773(b).




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            Seven of nine statutes contain exceptions specifically for sports broadcasts.16 Of
             those states, only four expressly exempt advertising for a sports broadcast.17

         Many of these exceptions are not just content-based but also target certain speakers, such

as by favoring tourism agencies, talk show hosts, or sports broadcasters. Washington also, for

example, exempts “the owners or employees of any medium used for advertising . . . .” Wash.

Rev. Code § 63.60.070(4). The wide variation highlights that the laws make content- and

speaker-based determinations in defining the scope of their coverage.

         There is no common thread among all these exceptions, save that each respective statute

treats some speech “less favorably” than others.18 Reed, 576 U.S. at 160; Sarver, 813 F.3d at

903 (“By its terms, California’s right of publicity law clearly restricts speech based upon

its content.”); Cardtoons, L.C. v. Major League Baseball Players Ass’n, 95 F.3d 959, 972 (10th

Cir. 1996) (baseball player association’s attempt to enjoin parody baseball cards under

Oklahoma right of publicity law “goes to the content of the speech, not merely to its time, place,

or manner”); Frazier v. Boomsma, No. CV07-08040, 2007 WL 2808559, at *15 (D. Ariz. Sept.



16
         Ala. Code § 6-5-773(b); Cal. Civ. Code § 3344(d); Haw. Rev. Stat. § 482P-7(b)(2); Nev. Rev. Stat.
§ 597.790(2); Ohio Rev. Code Ann. § 2741.02(D)(1); P.R. Laws Ann. tit. 32, § 3157(a); Wash. Rev. Code
§ 63.60.070(2)(b).
17
         Ala. Code § 6-5-773(b); Haw. Rev. Stat. § 482P-7(b)(3); Nev. Rev. St. § 597.790(2)(f); Wash. Rev. Code
§ 63.60.070(2)(c).
18
          This is not an exhaustive list of examples. Among others, Puerto Rico exempts the use of a likeness
specifically for “criticism or remarks in academia or research . . . .” P.R. Laws Ann. tit. 32, § 3157(c). Hawaii and
Washington exempt certain “works of art that are not published in more than five copies” and “[t]he advertisement
or sale of a rare or fine product . . . which incorporates” the author’s signature. Haw. Rev. Stat. § 482P-7(b)(1) &
(5); Wash. Rev. Code § 63.60.070(2)(a). Indiana exempts the use of identities that “have commercial value solely
because the personality has been formally charged with or convicted of a crime.” Ind. Code § 32-36-1-1(c)(4).
Hawaii and Washington exempt the use of a “name that is merely descriptive and used fairly and in good faith only
to identify or describe something other than the individual or personality, such as, . . . a party to a transaction,” but
they do not expressly exempt identifying information other than names for the same purpose, though it is not evident
why such a distinction would have meaning. Haw. Rev. Stat. § 482P-7(e); Wash. Rev. Code § 63.60.070(5); see
Restatement (Third) of Unfair Competition § 47 cmt. c (1995) (“The use of a person’s identity primarily for the
purpose of communicating information or expressing ideas is not generally actionable as a violation of the person’s
right of publicity.”). Indiana and Ohio exempt the use of a “name to truthfully identify” someone as an author of a
written work or performer of a recorded performance, but not for any other purpose. Ind. Code § 32-36-1-1(c)(2);
Ohio Rev. Code Ann.. § 2741.09(A)(2).



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27, 2007) (application of Arizona right of publicity law “would result in a content-

based restriction” on speech).

       In sum, the right of publicity laws at issue target certain content and speakers, subjecting

the laws to strict constitutional scrutiny if held to cover Hearst’s protected speech as alleged in

the Complaint.

       C.        The Right of Publicity Laws Would Not Satisfy Strict Scrutiny as Applied to
                 Hearst’s Alleged Speech.
       As content- and speaker-based regulations, the right of publicity laws are subject to strict

scrutiny. Reed, 576 U.S. at 164. They could not pass constitutional muster as applied to

Hearst’s speech. “Content-based laws . . . are presumptively unconstitutional and may be

justified only if the government proves that they are narrowly tailored to serve compelling state

interests.” Id. at 163. Any curtailment of speech must be “actually necessary” to the restriction

imposed. Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799 (2011). “It is rare that a regulation

restricting speech because of its content will ever be permissible.” Id. (quoting United States v.

Playboy Ent. Grp., Inc., 529 U.S. 803, 818 (2000)).

       In seeking to punish the mere possible inclusion of their names on a mailing list of

magazine subscribers, Plaintiffs’ purported application of the right of publicity laws is about as

far from a “narrow[] tailor[ing]” to any compelling state interest as one can imagine. The state’s

interest in the right of publicity, as shown above and as evident from the plain text of the statutes

(supra, Section I.A.), is to protect the individual’s ability to exploit the commercial value of their

unique, one-of-a-kind likeness. See also, e.g., H.R. Rep. 2727, Reg. Sess. (Wash. 2008)

(showing intent of Washington Statute to protect “Princess Diana and Jimi Hendrix’s personality

rights,” in part out of consideration for Washington photography and licensing businesses Getty

Images and Corbis, which favor “protect[ing] representation of famous personalities”).



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          Suppressing the communication of aggregated data points to a contractual partner—who

does not even know what names it has received—does nothing to advance this state interest,

much less in a narrowly tailored way. As the In re Facebook court put it, the communication of

information on users of a product “is categorically different from the type of conduct made

unlawful by” the right of publicity, which protects the value of identity to “promote a product or

service.” 402 F. Supp. 3d at 803 (emphasis added). Application of the right of publicity laws to

the facts alleged here would be the antithesis of narrow tailoring and would effectively penalize

the publication of any directory-like product such as telephone books, which merit full speech

protections. Strict constitutional scrutiny would not permit such a result.

          The First Amendment harm posed by Plaintiffs’ claims is especially pointed considering

the enormous statutory damage awards they claim to seek, in amounts from $750 up to $100,000

per violation, depending on the statute.19 The right of publicity laws surely would not be

“narrowly tailored” if they could sweep up Hearst’s lawful, accurate communications and

impose potentially debilitating monetary penalties for its speech in the process. Reed, 576 U.S.

at 163.

          The right of publicity laws as Plaintiffs conceive of them would burden far more speech

than legislatures ever intended, including speech wholly unrelated to the aim of the laws. The

right of publicity laws could not survive scrutiny if applied to Hearst’s speech.

                                                CONCLUSION

          For the reasons stated herein, Hearst respectfully requests that the Court dismiss the

Complaint in its entirety. Because no amount of repleading can save Plaintiffs’ claims, they

should be dismissed with prejudice.


19
          See Compl. ¶¶ 94, 102, 110, 125, 138, 146, 159, 169, 186.



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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above document filed through the ECF

system will be sent electronically to counsel of record on February 14, 2022.



                                                     /s/ Jonathan R. Donnellan
                                                     Jonathan R. Donnellan




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